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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY

_______________________________
PAULA ADAMS                     )
                                )                    Case Number 3:10-cv-629-H
            Plaintiff           )
                                )                    CIVIL COMPLAINT
            vs.                 )
                                )
MAPOTHER & MAPOTHER             )
P.S.C                           )
                                )                    JURY TRIAL DEMANDED
            Defendant           )
_______________________________)


                         COMPLAINT AND JURY DEMAND


       COMES NOW, Plaintiff, Paula Adams, by and through her undersigned counsel,

Robert R. Gillispie, of The Gillispie Law Firm, P.C., complaining of Defendant, and

respectfully avers as follows:


                         I. INTRODUCTORY STATEMENT


       1.      Plaintiff, Paula Adams, is an adult natural person and brings this action for

actual and statutory damages and other relief against Defendant for violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits debt

collectors from engaging in abusive, deceptive and unfair practices.


                                  II. JURISDICTION

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.
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       3.      Venue in this District is proper in that the Plaintiff resides in this District

and the Defendant transacts business in this District.


                                       III. PARTIES


       4.      Plaintiff, Paula Adams, is an adult natural person residing at 9906 Kelly

Cemetery Road, Maceo, KY 42355. At all times material and relevant hereto, Plaintiff is

a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Mapother & Mapother, PSC (“Defendant”), at all times

relevant hereto, is and was a professional service corporation engaged in the business of

collecting debt within the state of Kentucky with its principal place of business located at

815 West Market Street, Suite 500, Louisville, KY 40202-2654.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

§1692a(6).


                           IV. FACTUAL ALLEGATIONS

       7.      Plaintiff has engaged the law firm of Persels & Associates, LLC

(“Persels”) to help aid her in her unsecured debt settlement negotiations.

       8.      On or about March 11, 2010, with the help of Persels, Plaintiff settled with

Defendant on a debt allegedly owed on a Capital One account.

       9.      The original debt was for approximately $1,460.00 and Defendant agreed

to a settlement amount of $1,300.00.

       10.     Payment was to be made in one lump sum immediately.
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       11.     Persels first attempted to complete a “payment by phone” utilizing an

electronic means of transferring funds, but was informed that the Defendant no longer

accepted payments in that manner.

       12.     On or about March 12, 2010, Persels issued a check and dispatched same

via overnight courier to the Defendant on behalf of the Plaintiff in the amount of

$1,300.00. See Exhibit “A” (check) attached hereto.

       13.      On or about March 18, 2010, Defendant deposited the check and it

cleared Persels bank account. See Exhibit “B” (bank statement) attached hereto.

       14.     On or about March 25, 2010, Plaintiff received a letter from the

Defendant’s Counsel, “Robert D. McIntosh”, stating that the check was being returned

due to insufficient funds. See Exhibit “C” (letter) attached hereto.

       15.     The letter went on to state that there was no longer an agreement and that

the case will remain on their active docket.

       16.     Plaintiff was told that if she did not contact the Defendant within fifteen

(15) days that they would go further with a case against her.

       17.     The Defendant acted in a false, deceptive, misleading and unfair manner

when it engaged in conduct the natural consequence of which is to harass, oppress or

abuse such person in connection with the collection of a debt.

       18.     The Defendant knew or should have known that its actions violated the

FDCPA. Additionally, Defendant could have taken the steps necessary to bring its

actions and the actions of its agents within compliance of the FDCPA, but neglected to do

so and failed to adequately review those actions to insure compliance with the law.
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        19.     At all times pertinent hereto, Defendant was acting by and through its

agents, servants and/or employees, who were acting within the scope and course of their

employment and under the direct supervision and control of Defendant herein.

        20.     At all times pertinent hereto, the conduct of Defendant as well as its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

and in wanton disregard for federal and state law and the rights of the Plaintiff herein.

        21.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and

anguish and pecuniary loss and she will continue to suffer same for an indefinite time in

the future, all to her great detriment and loss.


                                    COUNT I – FDCPA


        22.     The above paragraphs are hereby incorporated herein by reference.

        23.     At all times relevant hereto, Defendant was attempting to collect an

alleged debt which was incurred by Plaintiff for personal, family or household purposes

and is a “debt” as defined by 15 U.S.C. § 1692a(5).

        24.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

                        §§ 1692d        Any conduct the natural consequence is to harass,

                                        oppress or abuse any person
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                      §§ 1692e        Any other false, deceptive, or misleading

                                      representation or means in connection with the debt

                                      collection

                      §§ 1692f        Any unfair or unconscionable means to collect or

                                      attempt to collect the alleged debt

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Mapother & Mapother, PSC, for the following:

       a.     Actual damages;

       b.     Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.     Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

       d.     Such additional and further relief as may be appropriate or that the

              interests of justice require.




                                  V. JURY DEMAND


       Plaintiff hereby demands a jury trial as to all issues herein.

                                                Respectfully submitted,

                                                The Gillispie Law Firm, P.C.

Date: October 1, 2010                     BY:     /s/ Robert R. Gillispie_
                                                Robert R. Gillispie, Esquire



                                                The Gillispie Law Firm, P.C.
                                                Post Office Box 6025
                                                Leesburg, VA 20178
                                                571-252-7840 Fax 571-252-7843
                                                Attorney for Plaintiff
